Case 1:04-cr-10095-.]DT Document 23 Filed 08/05/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT \\O-C‘

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FOR THE WESTERN DISTRICT OF TENNESSEE fn P

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EASTERN DIVIsIoN “5!69/{':‘/ § ; mr 34
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UNITED STATES OF AMERICA
vs CR NO. 1165='1'663'6=6'1 -T

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NICHOLAS DEANTHONY MARTIN

()RDER ON CHANGE OF PLEA
This cause came on to be heard on August 5, 2005, Assistant U. S. Attorney,
J ames W. Powel l, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Smothers, who was appointed
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the Indictrnent.

This case has been set for sentencing on Tuesdav . November 8. 2005. at 8:30

The defendant is allowed to remain on his present bond.

Q§MAQMM

8 D. TODD
UN, ED STATES DISTRICT JUDGE

DATE; 5 @¢,56¢42" MS/

IT IS SO ORDERED.

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This document entered on the dockets \t\n compt\a
with F\u\e 55 and!or 32(b) FF\CrP on _ § l 5 l Q _S_ ,

ISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:04-CR-10095 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

M. Dianne Srnothers

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Honorable .l ames Todd
US DISTRICT COURT

